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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KAMEKA WALTERS,                               )       Civil Action No. 2:22-cv-1051
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )
                                              )
ALLEGHENY COUNTY                              )
DEPARTMENT OF                                 )       JURY TRIAL DEMANDED
HUMAN SERVICES,                               )
                                              )
       Defendant.                             )       Electronically Filed.

                              COMPLAINT IN A CIVIL ACTION

       COMES NOW, the Plaintiff, KAMEKA WALTERS, by and through her attorneys, LAW

OFFICES OF JOEL SANSONE, JOEL S. SANSONE, ESQUIRE, MASSIMO A. TERZIGNI,

ESQUIRE, and ELIZABETH A. TUTTLE, ESQUIRE, and files this Complaint in a Civil Action

as follows:

                                 JURISDICTION AND VENUE

1.     This is an action to redress the deprivation by the Defendant of the Plaintiff’s civil rights,

and in particular, the right to be free from illegal, invidious and damaging discrimination in her

employment, which rights are guaranteed by the Constitution of the United States and the laws

and statutes enacted pursuant thereto, and in particular, Title VII of the Civil Rights Act of 1964,

42 U.S.C. §2000e, et seq. (as amended) (“Title VII”), the Civil Rights Act of 1991 (as amended).

Declaratory relief is sought under, and by virtue of, Title 28 U.S.C. §§2201 and 2202.

2.     Jurisdiction of this Honorable Court is founded upon Title 28 U.S.C. §§ 1331 and

1343(3), and by Title 42 U.S.C. §2000e.
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3.      Venue is proper under 28 U.S.C.A. § 1391(b). All claims set forth herein arose in the

Western District of Pennsylvania and the Plaintiff resides in the Western District of

Pennsylvania.

4.      Plaintiff has satisfied all procedural and administrative requirements set forth in Section

706 of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Section 2000e-5, and in

particular:

        a.      Plaintiff filed a charge of discrimination and retaliation with the Equal
                Employment Opportunity Commission (“EEOC”) on or about September
                7, 2021, and said charge was cross-filed with the Pennsylvania Human
                Relations Commission (“PHRC”);

        b.      The EEOC issued a Notice of the Right to Sue dated July 1, 2022 and;

        c.      Plaintiff’s Complaint is timely filed within 90 days of Plaintiff’s receipt of
                the Notice of Dismissal and Right to Sue.

                                              PARTIES

5.      Plaintiff, Kameka Walters, is an African-American female who resides in Allegheny

County, Pennsylvania.

6.      Defendant, Allegheny County Department of Human Services, is a public agency with

administrative offices located at One Smithfield Street, Pittsburgh, Pennsylvania 15219.

7.      At all times relevant hereto, Defendant was acting through its partners, directors, agents,

subsidiaries, officers, employees and assigns acting within the full scope of their agency, office,

employment or assignment.

                                   FACTUAL ALLEGATIONS

8.      Plaintiff was employed by the Defendant from on or about June 8, 2009, until her

constructive discharge on or about July 19, 2021. At the time of the Plaintiff’s constructive

discharge, she held the position of Peer Coach.



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9.     In or about 2019, Plaintiff filed an internal complaint with the Defendant’s human

resource department against her supervisor, Karen Rohley (“Rohley”). Plaintiff complained of

discrimination on the basis on her race, African-American.

10.    Thereafter, Plaintiff was not promoted to the position of Head Coach.

11.    Similarly situated Caucasian employees were promoted to the position of Head Coach by

the Defendant within one (1) year of becoming a Peer Coach.

12.    In or about 2020, after the Plaintiff returned from maternity leave, representatives of the

Defendant directed the Plaintiff to copy her supervisor on all communications.

13.    Similarly situated Caucasian employees and/or similarly situated employees that did not

take maternity leave were not required by the Defendant to copy their communications to a

supervisor.

14.    At that time, Defendant also did not permit the Plaintiff to go to meetings with

caseworkers unless she was accompanied by her manager, Gregory Phillips (“Phillips”), Ms.

Rohley and/or an employee with the position of Head Coach.

15.    Plaintiff believes, and therefore avers, that the requirements placed on the Plaintiff, as

more fully described hereinbefore above, were made on the basis of the Plaintiff’s race, African-

American, and/or sex, female, and/or in retaliation for the Plaintiff’s complaints of

discrimination.

16.    Plaintiff attempted to discuss the above-described requirements with her supervisor.

Plaintiff’s supervisor responded by sending the Plaintiff a list of job announcements.

17.    Thereafter, Plaintiff made complaints to Defendant’s human resources department that

she believed that she was being discriminated against based on her race, African-American,

and/or sex, female.



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18.    In or about 2021, Plaintiff applied for a Caseworker Supervisor position. Plaintiff was

objectively qualified for that position.

19.    Plaintiff was not selected by the Defendant for the position as Caseworker Supervisor.

20.    Instead, Defendant selected eight (8) Caucasian individuals and five (5) African-

American individuals for the position of Caseworker Supervisor.

21.    When the Plaintiff inquired about the non-selection, she was informed that her supervisor

indicated that the Plaintiff needed to improve on her consistency.

22.    Plaintiff believes, and therefore avers, that her supervisor provided this feedback on her

job performance based on the Plaintiff’s race, African-American, and/or sex, female, and/or in

retaliation for the Plaintiff’s complaints of discrimination.

23.    Plaintiff believes, and therefore avers, that she was subjected to increased and unjustified

scrutiny of her job performance to which other similarly situated Caucasian individuals were not.

24.    Plaintiff believes, and therefore avers, that she was discriminated against by the

Defendant and not selected for the position of Caseworker Supervisor based on her race,

African-American, her sex, female, and/or in retaliation for her complaint of discrimination.

25.    Plaintiff believes, and therefore avers, that the Defendant’s conduct is part of a plan,

pattern or practice of discrimination that may affect other similarly situated individuals.

26.    On or about July 19, 2021, Plaintiff was constructively discharged from her position as a

result of the Defendant’s ongoing conduct, as described herein.

27.    As a direct and proximate result of the Defendant’s actions, as more fully described

hereinbefore above, Plaintiff has been adversely affected financially, professionally and

emotionally.




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                                              COUNT I:

                              TITLE VII – RACE DISCRIMINATION

28.    Plaintiff incorporates by reference Paragraphs 1 through 27 as though fully set forth at

length herein.

29.    As described hereinbefore above, Plaintiff was discriminated against based upon her race,

African-American, in that she was not selected by the Defendant for positions for which she was

qualified and that she was subjected to increased and unjustifiable scrutiny and requirements to

which similarly situated Caucasian employees were not subjected.

23.    As a direct result of the Defendant’s discriminatory actions and violations of Title VII of

the Civil Rights Act of 1964, and The Civil Rights Act of 1991, the Plaintiff has lost wages and

other economic and professional benefits. The Plaintiff has also incurred counsel fees and other

costs in pursuing her legal rights.

24.    The Plaintiff has also suffered emotional, psychological, and physical distress,

inconvenience, suffering, loss of reputation, humiliation and embarrassment as a direct result of

the Defendant’s discriminatory conduct, as described above.

25.    The actions of the Defendant, through its employees, were intentional, willful and

deliberate and/or done with reckless disregard for the rights of the Plaintiff.

26.    The actions on part of the Defendant are part of a plan, practice or pattern of

discrimination which may affect others who are similarly situated to the Plaintiff.

       WHEREFORE, Plaintiff requests the following:

       a.        that the Court enter a judgment declaring the Defendant’s actions to be
                 unlawful and violative of the Title VII of the Civil Rights Acts of 1964 and
                 1991, as amended;




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       b.        that the Court award the Plaintiff back pay damages and other benefits lost
                 due to the Defendant’s unlawful conduct plus interest from the date of
                 discrimination;

       c.        that the Court award the Plaintiff compensatory and punitive damages as
                 a result of the Defendant violation of the Civil Rights Act of 1991;

       d.        that the Court order the Defendant to award the Plaintiff the position she
                 applied to before she was discriminated against and/or the position most
                 appropriate for the Plaintiff under the circumstances, with the accumulated
                 seniority, fringe benefits, and all other rights, or in the alternative, that the
                 Court order the Defendant to pay the Plaintiff front pay equivalent to her
                 lost salary, salary raises, fringe benefits and all other rights to which she
                 would have been entitled but for the Defendant’s discriminatory conduct;

       e.        that the Court award the Plaintiff pre-judgment and post judgment interest
                 from the date of the discrimination;

       f.        that the Court award the Plaintiff reasonable attorneys' fees and costs of this
                 action; and

       g.        that the Court grant the Plaintiff such additional relief as may be just and
                 proper.

                                                                  JURY TRIAL DEMANDED.

                                               COUNT II:

                                TITLE VII – SEX DISCRIMINATION

30.    Plaintiff incorporates by reference Paragraphs 1 through 29 as though fully set forth at

length herein.

31.    As described hereinbefore above, Plaintiff was discriminated against based upon her sex,

female, in that she was not selected by the Defendant for positions for which she was qualified

and that she was subjected to increased and justifiable scrutiny and requirements following

maternity leave.

32.    As a direct result of the Defendant’s discriminatory actions and violations of Title VII of

the Civil Rights Act of 1964, and The Civil Rights Act of 1991, the Plaintiff has lost wages and



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other economic and professional benefits. The Plaintiff has also incurred counsel fees and other

costs in pursuing her legal rights.

33.    The Plaintiff has also suffered emotional, psychological, and physical distress,

inconvenience, suffering, loss of reputation, humiliation and embarrassment as a direct result of

the Defendant’s discriminatory conduct, as described above.

34.    The actions of the Defendant, through its employees, were intentional, willful and

deliberate and/or done with reckless disregard for the rights of the Plaintiff.

35.    The actions on part of the Defendant are part of a plan, practice or pattern of

discrimination which may affect others who are similarly situated to the Plaintiff.

       WHEREFORE, Plaintiff requests the following:

       a.      that the Court enter a judgment declaring the Defendant’s actions to be
               unlawful and violative of the Title VII of the Civil Rights Acts of 1964 and
               1991, as amended;

       b.      that the Court award the Plaintiff back pay damages and other benefits lost
               due to the Defendant’s unlawful conduct plus interest from the date of
               discrimination;

       c.      that the Court award the Plaintiff compensatory and punitive damages as
               a result of the Defendant violation of the Civil Rights Act of 1991;

       d.      that the Court order the Defendant to award the Plaintiff the position she
               applied to before she was discriminated against and/or the position most
               appropriate for the Plaintiff under the circumstances, with the accumulated
               seniority, fringe benefits, and all other rights, or in the alternative, that the
               Court order the Defendant to pay the Plaintiff front pay equivalent to her
               lost salary, salary raises, fringe benefits and all other rights to which she
               would have been entitled but for the Defendant’s discriminatory conduct;

       e.      that the Court award the Plaintiff pre-judgment and post judgment interest
               from the date of the discrimination;

       f.      that the Court award the Plaintiff reasonable attorneys' fees and costs of this
               action; and




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       g.        that the Court grant the Plaintiff such additional relief as may be just and
                 proper.

                                                                 JURY TRIAL DEMANDED.

                                              COUNT III:

                                      TITLE VII – RETALIATION

36.    Plaintiff incorporates by reference Paragraphs 1 through 35 as though fully set forth at

length herein.

37.    As described hereinbefore above, Plaintiff was retaliated against for engaging in

protected activity, to wit, filing an internal complaint against her supervisor.

38.    As a direct result of the Defendant’s discriminatory actions and violations of Title VII of

the Civil Rights Act of 1964, and The Civil Rights Act of 1991, the Plaintiff has lost wages and

other economic and professional benefits. The Plaintiff has also incurred counsel fees and other

costs in pursuing her legal rights.

39.    The Plaintiff has also suffered emotional, psychological, and physical distress,

inconvenience, suffering, loss of reputation, humiliation and embarrassment as a direct result of

the Defendant’s discriminatory conduct, as described above.

40.    The actions of the Defendant, through its employees, were intentional, willful and

deliberate and/or done with reckless disregard for the rights of the Plaintiff.

41.    The actions on part of the Defendant are part of a plan, practice or pattern of

discrimination which may affect others who are similarly situated to the Plaintiff.

       WHEREFORE, Plaintiff requests the following:

       a.        that the Court enter a judgment declaring the Defendant’s actions to be
                 unlawful and violative of the Title VII of the Civil Rights Acts of 1964 and
                 1991, as amended;




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       b.      that the Court award the Plaintiff back pay damages and other benefits lost
               due to the Defendant’s unlawful conduct plus interest from the date of
               discrimination;

       c.      that the Court award the Plaintiff compensatory and punitive damages as
               a result of the Defendant violation of the Civil Rights Act of 1991;

       d.      that the Court order the Defendant to award the Plaintiff the position she
               applied to before she was discriminated against and/or the position most
               appropriate for the Plaintiff under the circumstances, with the accumulated
               seniority, fringe benefits, and all other rights, or in the alternative, that the
               Court order the Defendant to pay the Plaintiff front pay equivalent to her
               lost salary, salary raises, fringe benefits and all other rights to which she
               would have been entitled but for the Defendant’s discriminatory conduct;

       e.      that the Court award the Plaintiff pre-judgment and post judgment interest
               from the date of the discrimination;

       f.      that the Court award the Plaintiff reasonable attorneys' fees and costs of this
               action; and

       g.      that the Court grant the Plaintiff such additional relief as may be just and
               proper.

                                                                JURY TRIAL DEMANDED.


                                             COUNT IV:

                        PENNSYLVANIA HUMAN RELATIONS ACT

42.    Plaintiff incorporates Paragraphs 1 through 41 as though fully set forth at length herein.

43.    This is an action arising under the provisions of Pennsylvania law, to wit, Title 43 P.S.

Section 951, et seq. (The “Pennsylvania Human Relations Act”) and this Court has, and should

exercise, pendent jurisdiction over the same because the cause of action complained of in this

Count arises out of the same facts, events and circumstances as the other counts and therefore

judicial economy and fairness to the parties dictate that this count be brought in the same

Complaint.




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44.    As described hereinbefore above, the Defendant discriminated against the Plaintiff based

on her race, African American, and/or sex, female, and/or in retaliation for the Plaintiff’s

complaints of discrimination.

45.    By discriminating against the Plaintiff without just cause or legal excuse and solely

because of her race, and/or sex, and/or in retaliation for the Plaintiff’s complaints of

discrimination, and by permitting the discrimination against the Plaintiff as aforementioned, the

Defendant has violated the provisions of Title 43 P.S. Section 955 which prohibits discrimination

based upon her race and/or sex with respect to compensation for, continuation in and tenure of,

employment as well as prohibiting the aiding and abetting of such discrimination.

46.    As a direct result of the Defendant’s discriminatory actions and violations of the PHRA,

the Plaintiff has lost wages and other economic and professional benefits. In addition, the

Plaintiff has incurred counsel fees and other costs in pursuing her legal rights. The Plaintiff has

also suffered from and continues to suffer emotional distress, inconvenience, humiliation,

defamation of character, loss of standing among her peers and stress.

47.    As more fully set forth hereinabove, the Plaintiff has suffered, directly and solely as a

result of the Defendant’s discriminatory actions, great pecuniary loss and damage, as well as

pain, suffering, inconvenience, damage to Plaintiff’s reputation, and other damages which,

together with the forgoing may be permanent in nature. Plaintiff now suffers these damages, and

will continue to suffer the same for the indefinite future.

48.    The actions on the part of the Defendant, through its employees, were intentional and

willful and/or done with a reckless disregard of the Plaintiff.

       WHEREFORE, Plaintiff requests the following:

       a.       that the Court enter a judgment declaring the Defendant’s actions to be
                unlawful and violative the PHRA

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       b.       that the Court award the Plaintiff back pay damages and other benefits lost
                due to the Defendant’s unlawful conduct plus interest from the date of
                discrimination;

       c.       that the Court award the Plaintiff compensatory and punitive damages as
                a result of the Defendant’s actions being unlawful and violative of the
                PHRA;

       d.       that the Court award the Plaintiff pre-judgement and post-judgement interest
                from the date of the discrimination;

       e.       that the Court award the Plaintiff reasonable attorney’s fees and costs of this
                action; and

       f.       that the Court grant the Plaintiff such additional relief as may be just and
                proper.

                                                                JURY TRIAL DEMANDED


                                                Respectfully submitted,

                                                LAW OFFICES OF JOEL SANSONE

                                                s/ Joel S. Sansone
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Dated: July 22, 2022




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